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AO 245I (Rev. 11/16)   Judgment in a Criminal Case for a Petty Offense
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                                   District of Colorado
              UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                                                                             (For a Petty Offense)
                         v.
                                                                             Case No. 1:18-po-07002-STV-1
                  PAUL ROSS JACKSON
                                                                             USM No. X

                                                                             Daniel T. Smith
                                                                             Defendant’s Attorney
THE DEFENDANT:

☒ THE DEFENDANT pleaded                   ☒ guilty ☐ nolo contendere to count(s) 1 of the Information.
☐ THE DEFENDANT was found guilty on count(s)
The defendant is adjudicated guilty of these offenses:

Title & Section                                                          Nature of Offense                                       Offense Ended   Count

16 U.S.C. §§ 1538(a)(1)(G), 1540(b)(1);
50 C.F.R. §§ 17.11, 17.21(e); 17.31(a); 17.40(e)(6)(ii)                  Violation of the Endangered Species Act                     10/2016       1


        The defendant is sentenced as provided in pages 2 through                  3       of this judgment.
☐ THE DEFENDANT was found not guilty on count(s)
☐ Count(s)                                      ☐ is       ☐ are dismissed on the motion of the United States.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

       Per the Plea Agreement, the defendant agrees he shall not hunt any endangered or threatened wildlife listed in 50 C.F.R. § 17.11 for a
period of four (4) years from date of Judgment.



Last Four Digits of Defendant’s Soc. Sec. No.: 3787                                                             April 24, 2018
                                                                                                        Date of Imposition of Judgment

Defendant’s Year of Birth: 1954

                                                                                                               Signature of Judge
City and State of Defendant’s Residence:
Evergreen, Colorado                                                                                  Scott T. Varholak, Magistrate Judge
                                                                                                           Name and Title of Judge
                                                                                                                April 24, 2018
                                                                                                                     Date
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                                                                                                        Judgment — Page    2    of         3
 DEFENDANT:                     PAUL ROSS JACKSON
 CASE NUMBER:                   1:18-po-07002-STV-1

                                                   CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                          Assessment                   JVTA Assessment*                 Fine                     Restitution
  TOTALS              $ 10.00                      $ 0.00                             $ 25,000.00             $ 0.00


 ☐ The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
   after such determination.

 ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                  Total Loss**                          Restitution Ordered                Priority or Percentage




  TOTALS                                 $                                        $
 ☐ Restitution amount ordered pursuant to plea agreement $

 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
   fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
   subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ☐ the interest requirement is waived for the                ☐ fine     ☐ restitution.

      ☐ the interest requirement for the             ☐     fine      ☐ restitution is modified as follows:
 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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                                                                                                           Judgment — Page        3      of           3
 DEFENDANT:                     PAUL ROSS JACKSON
 CASE NUMBER:                   1:18-po-07002-STV-1

                                                          SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     ☒ Lump sum payment of $               25,010.00               due immediately, balance due

              ☒     not later than   April 27, 2018                      , or
              ☐     in accordance with ☐ C, ☐                    D,      ☐ E, or ☐ F below; or

  B     ☐ Payment to begin immediately (may be combined with ☐                      C,      ☐ D, or       ☐ F below); or

  C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                              (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

  D     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                              (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

  E     ☐ Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F     ☐ Special instructions regarding the payment of criminal monetary penalties:




  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
  during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


  ☐     Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.



  ☐     The defendant shall pay the cost of prosecution.

  ☐     The defendant shall pay the following court cost(s):

  ☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
  interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
